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               DWJ & Associates, LLC
Debtor                                                                                     Case number (Hknown)______________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       � Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                       D A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      121 No
      possession of any real           O Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that appy.)
      attention?
                                                D   It poses or is alleged to pose a threat of imminent and identifiable hazar to public health or safety.
                                                    What is the hazard? _________________________

                                                D   It needs to be physically secured or protected from the weather.

                                                D   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                D   Other ____________________________



                                               Where is the property?_________________________
                                                                          Number          Street



                                                                          City                                            State       ZIP Code


                                               Is the property insured?
                                                □ No
                                                D   Yes. Insurance agency _________________________

                                                         Contact name

                                                         Phone



            Statistical and administrative Information


13.   Debtor's estimation of           Check one:
      available funds                  0 Funds will be available for distribution to unsecured creditors.
                                       D After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       0 1-49                           □ 1,000-5,000                             □ 25,001-50,000
14.   Estimated number of              □ 50-99                          □ 5,001-10,000                            □ 50,001-100,000
      creditors
                                       0 100-199                        □ 10,001-25,000                           D   More than 100,000
                                       □ 200-999

                                       0 $0-$50,000                                                               D $500,000,001-$1 billion
15.   Estimated assets                 □ $50,001-$100,000               D
                                                                        x $10,000,001-$50 million                 D $1,000,000,001-$10 billion
                                       □ $100,001-$500,000              D $50,000,001-$100 million                D $10,000,000,001-$50 billion
                                       D $500,001-$1 million            D $100,000,001-$500 million               D More than $50 billion


  Official Form 201                         Voluntary Petition for Non-ln�viduals Filing for Bankruptcy                                 page 3
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      Fill in this information to identify the case:

                    DLJJ & Associates, LLC
      Debtor name __________________________________________________________________

                                              Central District of California
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Avila Builders
1    616 Eucalyptus Ave. #5
     Santa Barbara, CA, 93101
                                                                                                                                                     7,892.16


     Lee & Sons Plumbing & Heating
2    806 East Hanley Street
     Santa Barbara, CA, 93103
                                                                                                                                                     5,064.00



3




4




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6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                  DLJJ & Associates, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




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Annette Rubin
c/o DLJJ & Associates, Inc.
1801 South La Cienega Blvd., Ste. 301
Los Angeles, CA 90035


Avila Builders
616 Eucalyptus Ave. #5
Santa Barbara, CA 93101


Bank Hapoalim, B.M.
c/o Gary Luks, Esq.
1177 Avenue of Americas
New York, NY 10036


Bank Hapoalim, B.M.
Buchalter c/o Russell Allyn, Esq.
1000 Wilshire Blvd., Ste. 1500
Los Angeles, 90017


Bank Of America
700 Lousiana Street
4th floor
Houston, TX 77002


COUNTY OF SANTA BARBARA- Assessor Division
105 E. Anapamu St
Room 204
Santa Barbara, CA 93101


Daniel and Hillary Wallace
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6016 Fallbrook Ave., Ste. 101
Woodland Hills, CA 91367


Daniel Wallace and Hillary Wallace
c/o Daniel Wallace, Esq.
6845 Amestoy Avenue
Balboa, CA 91406
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Franchise Tax Board Bankruptcy Section, MS: A
P. O. Box 2952
Sacramento, CA 95812


Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346


Lee & Sons Plumbing & Heating
806 East Hanley Street
Santa Barbara, CA 93103


Preferred Bank
601 South Figueroa Street
Los Angeles, CA 90017


Preferred Bank
1801 Century Park East
Ste. 100
Los Angeles, CA 90067-2303


Preferred Bank
9350 Flair Drive
Suite 425
El Monte, CA 91731


Preferred Bank
c/o Michael Bubman, Esq.
21860 Burbank Boulevard, Suite 360
Woodland Hills, CA 91367


Preferred Bank
c/o Lender's Foreclosure Services
P.O. Box 92086
City of Industry, CA 91715-2086
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Prestige Pool and Brandon Ruiz
c/o Raymond Myer, Esq.
100 W. Arrellaga Street
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Prestige Pool Services
9450 SW Gemini Drive
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Surface Solutions Custom Painting
P.O. Box 92240
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Surface Solutions Custom Painting
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